                                   Case 23-13358-RAM                  Doc 1       Filed 04/28/23           Page 1 of 17

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number   (if known)   _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ Chapter                        11
                                                                                                                         D   Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor's name               Shops@Bird & 89, LLC

2.    All other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names


3.    Debtor's federal
      Employer Identification     XX-XXXXXXX
      Number (EIN)


4.    Debtor's address            Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  8950 SOUTHWEST 40TH STREET
                                  Miami, FL 33165
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                     Location of principal assets, if different from principal
                                  County                                                         place of business
                                                                                                 8934-8950 SW 40th Street Miami, FL 33165
                                                                                                 Number, Street, City, State & ZIP Code


 5.   Debtor's website (URL)


 6.   Type of debtor               ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                   D   Partnership (excluding LLP)

                                   D   Other. Specify:




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                  Case 23-13358-RAM                     Doc 1         Filed 04/28/23             Page 2 of 17
Debtor    Shops@Bird & 89, LLC                                                                       Case number (if known)
          Name                                                                                                                - - - - - - - - - - - - - - --

7.   Describe debtor's business       A. Check one:

                                      D   Health Care Business (as defined in 11 U.S.C. § 101 (27 A))
                                      D   Single Asset Real Estate (as defined in 11 U.S.C. § 101 (518))
                                      D   Railroad (as defined in 11 U.S .C. § 101(44))
                                      D   Stockbroker (as defined in 11 U.S.C . § 101 (53A))
                                      D   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      D   Clearing Bank (as defined in 11 U.S.C . § 781 (3))

                                      ■ None of the above

                                      B. Check all that apply
                                      D Tax-exempt entity (as described in 26 U.S.C. §501)
                                      D Investment company, including hedge fund or pooled investment vehicle (as defined in          15 U.S.C. §80a-3)
                                      D Investment advisor (as defined in 15 U.S.C . §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the           D Chapter 7
     debtor filing?
     A debtor who is a "small        D Chapter 9
     business debtor" must check     ■ Chapter 11 . Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                          D The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D), and its aggregate
     elects to proceed under                                 noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                              $3,024,725. If this sub-box is selected , attach the most recent balance sheet, statement of
     (whether or not the debtor is a                         operations , cash-flow statement, and federal income tax return or if any of these documents do not
     "small business debtor'') must                          exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
     check the second sub-box.
                                                       ■ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                             debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                             proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                             balance sheet, statement of operations , cash-flow statement, and federal income tax return, or if
                                                             any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B) .
                                                            D   A plan is being filed with this petition.
                                                            D   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                            D   The debtor is required to file periodic reports (for example, 1OK and 1OQ) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                            D    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                      D   Chapter 12

9.   Were prior bankruptcy            ■ No.
     cases filed by or against
     the debtor within the last 8     □ Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                Case number
                                                           - - - -- - - - - -                     --------
                                                District
                                                           - - - - - -- -- - When                 - - - - -- - - Case number




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                        Case 23-13358-RAM                        Doc 1        Filed 04/28/23              Page 3 of 17
Debtor    Shops@Bird & 89, LLC                                                                                Case number {if known)
          Name                                                                                                                         - - - -- -- - - - -- - - - -
10. Are any bankruptcy cases
                                            ■ No
    pending or being filed by a
    business partner or an                  □ Yes.
    affiliate of the debtor?




     List all cases . If more than 1,
     attach a separate list                            Debtor                                                    Relationship
                                                       District   ------------------,-W"""h,-e_n_ _ _ _ __ _ _ _ Case number, if known
                                                                  - - - - - -- - - -

11 . Why is the case filed in           Check all that apply:
     this district?
                                        ■        Debtor has had its domicile, principal place of business , or principal assets in this district for 180 days immediately
                                                 preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                        D        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              ■   No
    have possession of any
    real property or personal           □ Yes.        Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property that needs
     immediate attention?                             Why does the property need immediate attention? (Check all that apply.)
                                                      D   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard?

                                                      D   It needs to be physically secured or protected from the weather.
                                                      D    It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example ,
                                                          livestock, seasonal goods , meat, dairy, produce, or securities-related assets or other options).
                                                      D   Other
                                                      Where is the property?
                                                                                        Number, Street, City, State & ZIP Code
                                                      Is the property insured?
                                                      □ No
                                                      D   Yes.    Insurance agency
                                                                  Contact name
                                                                  Phone



           Statistical and administrative information

13. Debtor's estimation of                        Check one:
    available funds
                                                   ■ Funds will be available for distribution to unsecured creditors.

                                                  D   After any administrative expenses are paid , no funds will be available to unsecured creditors.


14. Estimated number of                 ■ 1-49                                               □ 1,000-5,000                                □ 25,001-50,000
    creditors                                                                                □ 5001-10,000                                □ 50,001-100,000
                                        □ 50-99
                                        □ 100-199                                            □ 10,001-25,000                              D More than100,000
                                        □ 200-999


15. Estimated Assets                    □ $0 - $50,000                                       D   $1,000,001 - $1 O million                D $500,000,001 - $1 billion
                                        □ $50 ,001 - $100,000                                ■ $10,000 ,001 - $50 million                 D $1 ,000 ,000,001 - $10 billion
                                        □ $100,001 - $500 ,000                               D $50,000,001 - $100 million                 □ $10,000,000,001 - $50 billion
                                        D $500 ,001 - $1 million                             D $100,000 ,001 - $500 million               D More than $50 billion

16. Estimated liabilities               □ $0 - $50,000                                       ■ $1,000,001 - $10 million                   D   $500,000,001 - $1 billion

 Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                          page 3
                           Case 23-13358-RAM               Doc 1       Filed 04/28/23             Page 4 of 17
Debtor   Shops@Bird & 89, LLC                                                      Case number (if known)
         Name


                          □ $50 ,001 - $100,000                     D $10,000,001 - $50 million             D $1 ,000,000,001 - $1 0 billion
                          □ $100,001 - $500,000                     D $50 ,000,001 - $100 million           D $10,000 ,000,001 - $50 billion
                          D $500,001 - $1 million                   D $100 ,000,001 - $500 million          D More than $50 billion




 Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 4
                                  Case 23-13358-RAM                    Doc 1        Filed 04/28/23             Page 5 of 17
              "'--
Debtor    Shops'@Bird & 89, LLC                                                                    Case number (if known)
          Name                                                                                                              - - -- - - - - - - - -- -- -

          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341 , 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United Stales Code, specified in this petition .
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 27, 2023
                                                  MM/ DD /YYYY


                                                                                                          Jose Graibe
                                                                                                          Printed name




18. Signature of attorney    X                                                                             Date April 27, 2023
                                                                                                                MM/ DD /YYYY

                                 Robert C. Meyer,PA 436062
                                 Printed name

                                 Robert C. Meyer, P.A.
                                 Firm name

                                 2221 Coral Way, Second Floor
                                 Miami FL 33145-3508
                                  Number, Street, City, State & ZIP Code


                                  Contact phone     305-285-8838                  Email address      meyerrobertc@cs.com


                                  436062 FL
                                  Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
                               Case 23-13358-RAM                               Doc 1                   Filed 04/28/23                                   Page 6 of 17




Fill in this information to identify the case:

Debtor name      Shops@Bird & 89, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                                                              D   Check if this is an
                                                                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation ; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

       ■       Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)
       ■       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       ■       Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
       ■       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       ■       Schedule H: Codebtors (Official Form 206H)
       ■       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
       D       Amended Schedule
       ■       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
       O       Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is tru~__and c~
                                                                          orrect.

       Executed on       April 27, 2023                   X               ;;?1 ~
                                                              _S_i_g-na~t-u-re-of-+.+d
                                                                                     ...,.i-v~id~u-a~Is..,.ig_n...,i-ng_o_n...,.b_e.,..h-a~lf-07f ..,.
                                                                                                                                                  de  ...,b_t_o_r-   -   - - - - - --     -   -   -   ----


                                                                Jose Graibe
                                                                Printed name

                                                                 Managing Member
                                                                Position or relationship to debtor




Official Form 202                                    Declaration Under Penalty of Perjury for Non-Individual Debtors
                                   Case 23-13358-RAM                     Doc 1         Filed 04/28/23                Page 7 of 17


Fill in this information to identi the case :
Debtor name Sho s Bird & 89, LLC
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                             □    Check if this is an
                                              FLORIDA
Case number (if known):                                                                                                                       amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12115

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and        Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address,   and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code          creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
IRS                                                                                                                                                                       $0.00
Internal Revenue
Service
Atlanta, GA
39901-0029
Miami-Dade County                                                                                                                                                         $0.00
Tax Collector
200 NW 2nd Avenue
Miami, FL 33128




Official form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                                  Case 23-13358-RAM                                                 Doc 1                  Filed 04/28/23                                Page 8 of 17
Fill in this information to identify the case:

Debtor name              Shops@Bird & 89, LLC

United States Bankruptcy Court for the:                                 SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                                                                                                   D   Check if this is an
                                                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                                   12/15

■RMIM Summary of Assets


1.    Schedule AJB: Assets-Real and Personal Property (Official Form 206A/B)

      1a. Real property:
            Copy line 88 from Schedule A/8 ... .... ........ .... ....... ... ... .... ................ .... .... ................. .. ........ .. ... ..... ..... .. .. .. ..... ..... ..... .                         $       10,000,000.00

      1b. Total personal property:
          Copy line 91A from Schedule A/8 .............. .... .. .. ... ... ..... .. ............ .... ................... .... .......... ...... .... ........ ..... .... .. ...... .                                  $            93,000.00

      1c. Total of all property:
          Copy line 92 from Schedule A/8 ............... ... ......... .... .. ...... ... ................ ............. .......... ................... .................. ... .                                        $       10,093,000.00


■=ltrltW Summary of Liabilities


2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      Copy the total dollar amount listed in Column A , Amount of claim, from line 3 of Schedule 0 ................. .... .. ......... ....                                                                             $         5,577,772.04
                                                                                                                                                                                                                            - - - - - - --

3.    Schedule EJF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

      3a. Total claim amounts of priority unsecured claims:
          Copy the total claims from Part 1 from line 5a of Schedule EIF. ... ... .. ....... .... ... .... ... .......... .... ... .... .. .. ... .... ... ....... .                                                    $                    0.00

      3b. Total amount of claims of nonpriority amount of unsecured claims:
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule EIF .. ....... ..... ... ...... ....... .. ..............                                                                        +$                    0.00


 4.   Total liabilities ......... ... .. ........ ... .. ... .. ..... .......... .... ............. ... ... ... .... ....... ... .... .. .. ...... .. .. ... .... .... .. .... ... ............ ...... ..... . .
      Lines 2 + 3a + 3b                                                                                                                                                                                            $           5,577,772.04




 Official Form 206Sum                                                         Summary of Assets and Liabilities for Non-Individuals                                                                                                      page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                                   Case 23-13358-RAM                    Doc 1       Filed 04/28/23               Page 9 of 17
Fill in this information to identify the case:

Debtor name            Shops@Bird & 89, LLC

United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                    D      Check if this is an
                                                                                                                                           amended filing



Official Form 206NB
Schedule A/8: Assets - Real and Personal Property                                                                                                           12115
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule AIB, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
  schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
  debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
-              Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      D    No. Go to Part 2.
      ■ Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                       Current value of
                                                                                                                                           debtor's interest

 3.           Checking, savings, money market, or financial brokerage accounts (Identify all)
              Name of institution (bank or brokerage firm)         Type of account                              Last 4 digits of account
                                                                                                                number


              3.1.     First Bank Florida                                 Checking                              7720                                      $8,000.00



 4.           Other cash equivalents (Identify all)


 5.           Total of Part 1.                                                                                                                        $8,000.00
              Add lines 2 through 4 (including amounts on any additional sheets) . Copy the total to line 80.

-            Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       ■ No. Go to Part 3.
       D Yes Fill in the information below.


-                    Accounts receivable
10. Does the debtor have any accounts receivable?

       D   No. Go to Part 4 .
       ■ Yes Fill in the information below.

    11 .      Accounts receivable
              11 a. 90 days old or less:                    10,000.00                                   10,000.00                                                $0.00
                                           face amount                           doubtful or uncollectible accounts




Official Form 206A/B                                     Schedule A/B Assets - Real and Personal Property                                                        page 1
                                  Case 23-13358-RAM                     Doc 1           Filed 04/28/23     Page 10 of 17

    Debtor       Shops@Bird & 89, LLC                                                          Case number   (ff known)
                 Name                                                                                                     - - - - -- - - - - - - --



    12.      Total of Part 3.                                                                                                                  $0.00
             Current value on lines 11 a + 11 b = line 12. Copy the total to line 82.

-            Investments
13. Does the debtor own any investments?

      ■ No. Go to Part 5.
      D Yes Fill in the information below.

-            Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      ■ No. Go to Part 6.
      D Yes Fill in the information below.


-            Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       ■ No. Go to Part 7.
       D Yes Fill in the information below.

-           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       0 No. Go to Part 8.
       ■ Yes Fill in the information below.

             General description                                             Net book value of         Valuation method used       Current value of
                                                                             debtor's interest         for current value           debtor's interest
                                                                             (Where available)

    39.      Office furniture

    40 .     Office fixtures
             Various personal property at the site.                                      $15,000.00    Liquidation                           $85,000.00



    41.      Office equipment, including all computer equipment and
             communication systems equipment and software

    42.      Collectibles Examples: Antiques and figurines ; paintings , prints, or other artwork;
             books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
             collections; other collections , memorabilia , or collectibles


    43.      Total of Part 7.                                                                                                               $85,000.00 I
             Add lines 39 through 42. Copy the total to line 86.

    44.      Is a depreciation schedule available for any of the property listed in Part 7?
             ■ No
             □ Yes

    45.      Has any of the property listed in Part 7 been appraised by a professional within the last year?
              ■ No
              □ Yes

    -            Machinery, equipment, and vehicles
    46. Does the debtor own or lease any machinery, equipment, or vehicles?

    Official Form 206A/B                                 Schedule A/8 Assets - Real and Personal Property                                          page 2
                                   Case 23-13358-RAM                   Doc 1      Filed 04/28/23             Page 11 of 17

Debtor            Shops@Bird & 89, LLC                                                       Case number (If kno wn) _ _ _ _ _ _ _ _ _ _ _ _ __
                  Name


   ■ No. Go to Part 9.
   D Yes Fill in the information below.

-             Real property
54 . Does the debtor own or lease any real property?

   D       No. Go to Part 10.
   ■ Yes Fill in the information below.

 55.          Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

              Description and location of          Nature and              Net book value of         Valuation method used   Current value of
              property                             extent of               debtor's interest         for current value       debtor's interest
              Include street address or other      debtor's interest       (Where available)
              description such as Assessor         in property
              Parcel Number (APN), and type
              of property (for example,
              acreage, factory, warehouse,
              apartment or office building , if
              available.
              55.1. 8934-50 SW 40th
                      Street, Miami, FL
                       33165                        Fee simple                 $10,000,000.00        Revenue based                  $10,000,000.00


              55.2 .
                       Improvements and
                       fixtures                     Fee simple                        Unknown            Liquidation                             $0.00




 56.          Total of Part 9.                                                                                                   $10,000,000.00
              Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
              Copy the total to line 88 .

 57 .         Is a depreciation schedule available for any of the property listed in Part 9?
              ■ No
              □ Yes

 58.          Has any of the property listed in Part 9 been appraised by a professional within the last year?
              ■ No
              □ Yes

-            Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       ■ No. Go to Part 11 .
       D   Yes Fill in the information below.


lmllll All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form .

       ■ No. Go to Part 12.
       D Yes Fill in the information below.




 Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                          page 3
                                          Case 23-13358-RAM                                     Doc 1              Filed 04/28/23                      Page 12 of 17

Debtor           Shops@Bird & 89, LLC                                                                                               Case number          (If known)
                 Name                                                                                                                                                 - - -- - - -- - - - - -

121i1f.11111summary
               ~ - - -- - - - -- - - - - -- - - - - - - -- - - - - - -- - - - - -- - -- - - - -- --
In Part 12 copy all of the totals from the earlier parts of the form
     Type of property                                                                                            Current value of                           Current value of real
                                                                                                                 personal property                          property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                              $8,000.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                                           $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                                               $0.00

83. Investments. Copy line 17, Part 4.                                                                                                       $0.00

84. Inventory. Copy line 23, Part 5.                                                                                                         $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                                $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                         $85,000.00

 87.   Machinery, equipment, and vehicles . Copy line 51, Part 8.                                                                            $0.00

 88.   Real property. Copy line 56, Part 9.. .. .. ... .. .... .. ....... ..... .................. . .. ........ .. ......... ............. .. .. >                        $10,000,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                                           $0.00

 90. All other assets. Copy line 78, Part 11 .                                                               +                               $0.00

 91 . Total. Add lines 80 through 90 for each column                                                                            $93,000.00            I+ 91 b.            $10,000,000.00


 92. Total of all property on Schedule A/8. Add lines 91 a+9 1b=92                                                                                                                  $10,093,000.00




 Official Form 206A/B                                                       Schedule A/8 Assets - Real and Personal Property                                                                    page 4
                                       Case 23-13358-RAM                      Doc 1          Filed 04/28/23             Page 13 of 17
Fill in this information to identify the case:

Debtor name           Shops@Bird & 89, LLC

United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                             D     Check if this is an
                                                                                                                                                   amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

       D   No. Check this box and submit page 1 of this form lo the court with debtor's other schedules. Debtor has nothing else lo report on this form.
       ■ Yes.Fill in all of the information below.
■ =tfilM List Creditors Who Have Secured Claims
                                                                                                                         Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                      Amount of claim             Value of collateral
                                                                                                                                                     that supports this
                                                                                                                         Do not deduct the value     claim
                                                                                                                         of collateral.
        SAFE HARBOR EQUITY
 2.1                                                  Describe debtor's property that is subject to a lien                     $5,577,772.04           $10,000,000.00
        DISTRESSED DEBT FUND
        Creditor's Name                               8934-50 SW 40th Street, Miami, FL 33165
        c/o Christopher Spuches
        Agentis PLLC I Lynx Law
        PLLC
        55 Alhambra Plz Ste 800
        Coral Gables, FL 33134
        Creditor's mailing address                    Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?

                                                      ■ No
        Creditor's email address, if known            □ Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        □ No
         12/2/2019                                    ■ Yes . Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account number

         Do multiple creditors have an                As of the petition filing date, the claim is:
         interest in the same property?               Check all that apply
           ■ No                                       D   Contingent

         D Yes . Specify each creditor,               D Unliquidated
         including this creditor and its relative     D Disputed
         priority.



                                                                                                                                $5,577,772.0
 3 _ Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, If any.                            4

1=tfifW List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
           Safe Harbor Equity
           1521 Alton Road                                                                                      Line   _l,1_
           Suite 529
           Miami Beach, FL 33139


Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 1
                                 Case 23-13358-RAM                       Doc 1           Filed 04/28/23                    Page 14 of 17
Fill in this information to identify the case:

Debtor name       Shops@Bird & 89, LLC

United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF FLORIDA


Case number (if known)
                                                                                                                                            D      Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

■ @IN List All Creditors with PRIORITY Unsecured Claims

    1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

        D No. Go to Part 2.
        ■ Yes. Go to line 2.

     2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
        with priority unsecured claims. fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim            Priority amount

~ Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                 Unknown            $0.00
         IRS                                                 Check all that apply.
         Internal Revenue Service                            D Contingent
         Atlanta, GA 39901-0029                              D Unliqu idated
                                                             D Disputed
         Date or dates debt was incurred                      Basis for the claim:


         Last 4 digits of account number                     Is the claim subject to offset?
         Specify Code subsection of PRIORITY                  ■   No
         unsecured claim: 11 U.S.C. § 507(a) (§)
                                                              □ Yes


@::=J Priority creditor's name and mailing address           As of the petition filing date, the cla im is:                                Unknown             $0.00
         Miami-Dade County Tax Collector                     Check all that apply.
         200 NW 2nd Avenue                                    D Contingent
         Miami, FL 33128                                      D   Unliquidated
                                                              D Disputed
          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 ■   No
          unsecured claim: 11 U.S.C. § 507(a) (§)
                                                              □ Yes


■ @fW List All Creditors with NON PRIORITY Unsecured Claims
 3. List in alphabetical order all of the creditors with non priority unsecured claims. If the debtor has more than 6 creditors with non priority unsecured claims, fill
    out and attach the Additional Page of Part 2.
~ Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.
                                                                            D    Contingent
                                                                            D    Unliquidated
         Date or dates debt was incurred
                                                                            D Disputed
         Last 4 digits of account number _ _
                                                                            Basis for the claim :

                                                                            Is the claim subject to offset?     D     No   D   Yes



Official Form 206E/F                                     Schedule EIF: Creditors Who Have Unsecured Claims                                                           page 1 of 2
                                                                                                              54021
                                  Case 23-13358-RAM                        Doc 1         Filed 04/28/23                Page 15 of 17

 Debtor     Shops@Bird & 89, LLC                                                                    Case number (it known}
             Name

■ @IN List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Exa mples of entities that may be listed are collectio n agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit th is page. If additional pages are needed, copy the next page .

          Name and mailing address                                                                 On which line in Part1 or Part 2 is the              Last 4 digits of
                                                                                                   related creditor (if any) listed?                    account number, if
                                                                                                                                                        any

■ @tM Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                          5a.       $ _ _ _ __ _ __ _             _.co~.o~o=--
 Sb. Total claims from Part 2                                                                          5b.   +   $                               0.00

 Sc. Total of Parts 1 and 2
      Lines 5a + 5b = 5c.                                                                              5c.       $                       0.00
                                                                                                                     - -- - - - - - - - - - -




 Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 2
                                 Case 23-13358-RAM                   Doc 1        Filed 04/28/23            Page 16 of 17
 Fill in this information to identify the case:

 Debtor name        Shops@Bird & 89, LLC

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                   D   Check if this is an
                                                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
        D No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      ■ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/8: Assets - Real and Personal                 Property
(Official Form 206A/B) .

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or           Realty Contract which
              lease is for and the nature of       can be terminated at
              the debtor's interest                will by Debtor. Debtor
                                                   terminates contract!
                 State the term remaining                                            Fausto Commercial Realty
                                                                                     c/o Carlos Fausto Miranda
              List the contract number of any                                        1761 W Flargler St
                    government contract                                              Miami, FL 33135



 2.2.         State what the contract or           Debtor is landlord
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     Ganadero Prime Grill LLC
              List the contract number of any                                        8946 Bird Rd
                    government contract                                              Miami, FL 33165



 2.3 .        State what the contract or            Debtor is landlord
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                      Rafe Lugo Salon & Spa Inc
              List the contract number of any                                         8940 Bird Rd
                    government contract                                               Miami, FL 33165



 2.4.         State what the contract or            Debtor is landlord
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                      Valencia Perfume LLC
              List the contract number of any                                         16460 SW 145 Ct
                    government contract                                               Miami, FL 33177




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       Page 1 of 1
                             Case 23-13358-RAM                   Doc 1       Filed 04/28/23            Page 17 of 17
Fill in this information to identify the case:

Debtor name      Shops@Bird & 89, LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                           D     Check if this is an
                                                                                                                                 amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

D No . Check this box and submit this form to the court with the debtor's other schedules . Nothing else needs to be reported   on this form .
 ■ Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                               Check all schedules
                                                                                                                                   that apply:

   2.1    Jose Graibe                  2120 SW 21 Street                                        SAFE HARBOR                        ■ o       2.1
                                       Miami, FL 33145                                          EQUITY
                                                                                                                                   □ E/F
                                                                                                DISTRESSED DEBT
                                                                                                FUND
                                                                                                                                   □ G




Official Form 206H                                                     Schedule H: Your Codebtors                                                Page 1 of 1
